Case 2:02-cr-20027-.]DB Document 119 Filed 04/25/05 Page 1 of 2 Page|D 96

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEUS NJR 25 fm Ij: i
WESTERN DIVISION

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UNITED sTATEs oF AMERICA, W'D~ OF T"" M*"‘*“PH'S

Plaintiff,

v. No. 02-20027-B/V
FREDDIE PETERS,

Defendant.

 

ORDER OF REFERENCE

 

The United States Court of Appeals has remanded the above case for resentencing
lnasmuch as Defendant will need counsel, this matter is referred to the magistrate judge for
appointment of counsel or to reappoint his previous CJA attorney.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

obj ections.

IT IS SO ORDERED this § day of April, 2005.

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. DANIE]., BREEN \
NIT STATES DISTRICT JUDGE

 

Thls document entered on the docket]lheet In compliance

with Flu|e 55 and/or 32(b) FHCrP on ` / /Q

 

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This notice confirms a copy of the document docketed as number 119 in
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Linda N. Harris

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Honorable J. Breen
US DISTRICT COURT

